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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )              8:05CR173
                                               )
                       Plaintiff,              )
                                               )
               vs.                             )              ORDER
                                               )
CLINT INGALLS,                                 )
                                               )
                       Defendant.              )


       This matter comes on to consider the government’s motion for Rule 35(b) hearing. Filing
No. 51. Having considered the matter,
       IT IS ORDERED that:
       1. The government’s request for hearing, Filing No. 52, is granted.
       2. A hearing on the government’s motion for reduction of sentence pursuant to Rule 35(b)
has been set before the undersigned United States district judge on August 31, 2007, at 3:00 p.m.
in Courtroom No. 3, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska.
       3. Counsel for the defendant, if previously appointed pursuant to the Criminal Justice Act,
is reappointed to represent the defendant for purposes of the Rule 35(b) motion. If retained,
counsel for the defendant remains as counsel for the defendant until the Rule 35(b) motion is
resolved or until given leave to withdraw.
       4. At the request of the defendant through his counsel, and with the agreement of the
government, the defendant may be absent from the hearing on the Rule 35 motion.
       5. The Marshal is directed not to return the defendant to the district, and the
defendant is held to have waived his right to be present. If the defendant wishes to participate
telephonically in the hearing, his attorney must notify chambers at least 24 hours before the hearing
of the telephone number and contact person at the institution which defendant is incarcerated.
       DATED this 22nd day of June, 2007.
                                               BY THE COURT:



                                               s/ Joseph F. Bataillon
                                               JOSEPH F. BATAILLON
                                               United States District Judge
